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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                         February 18, 2016
                                 UNITED STATES DISTRICT COURT
                                                                                         David J. Bradley, Clerk
                                  SOUTHERN DISTRICT OF TEXAS
                                      MCALLEN DIVISION

ERICA CHAVEZ,                                        §
                                                     §
           Plaintiff,                                §
VS.                                                  § CIVIL ACTION NO. 7:15-CV-487
                                                     §
STATE FARM LLOYDS,                                   §
                                                     §
           Defendant.                                §

                                             OPINION & ORDER

         Pending before the Court is “Plaintiff’s Motion to Remand and For Attorney’s Fees,”1

filed by Erica Chavez (“Plaintiff”). State Farm Lloyds (“Defendant”) has filed a response in

opposition.2 After considering the motion, response, and relevant authorities, the Court DENIES

the motion.

    I.   Background

         On October 9, 2015, Plaintiff filed suit in state court against Defendant, asserting various

insurance-related causes of action for property damage resulting from a wind or hail storm.3

Subsequently, on November 19, 2015, Defendant timely removed the case to this Court based on

diversity jurisdiction.4 Shortly thereafter, Plaintiff filed the instant motion to remand, seeking

both remand of the action and attorney’s fees. Plaintiff claims that the amount in controversy

does not exceed $75,000, that the Court therefore lacks diversity jurisdiction, and that Plaintiff is




1
  Dkt. No. 6 (“Motion”).
2
  Dkt. No. 7 (“Response”).
3
  See Dkt. No. 1, Exh. 3 at pp. 4-10 (“Petition”).
4
  Dkt. No. 1.

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entitled to recover attorney’s fees incurred as a result of filing the instant motion.5 Defendant

timely responded. The Court now considers the relief requested.

    II.   Legal Standard

          The removing party bears the burden of establishing whether federal jurisdiction exists,6

and the Court must resolve all doubts regarding whether removal jurisdiction is proper in favor

of remand.7 The Court does not have subject matter jurisdiction under 28 U.S.C. § 1332 unless

the parties are completely diverse and the amount in controversy exceeds $75,000.8 Generally,

“the sum demanded in good faith in the initial pleading shall be deemed to be the amount in

controversy.”9 However, when the State practice does not permit a demand for a specific sum,

removal is proper if the removing party proves by preponderance of the evidence that the amount

in controversy exceeds $75,000.10            Defendant can satisfy this burden by (1) showing it is

“apparent from the claims of the petition that the claims are likely to exceed $75,000” or (2)

setting forth “summary judgment-type evidence of facts in controversy that support a finding of

the requisite amount.”11

          “[I]f it is facially apparent from the petition that the amount in controversy exceeds

$75,000 at the time of removal, post-removal affidavits, stipulations, and amendments reducing

the amount do not deprive the district court of jurisdiction.”12 In other words, these post-removal

filings may only be considered in determining the amount in controversy “if the basis for




5
  Motion.
6
  Howery v. Allstate Ins. Co., 243 F.3d 912, 916 (5th Cir. 2001) (citation omitted).
7
  Acuna v. Brown & Root, Inc., 200 F.3d 335, 339 (5th Cir.2000).
8
  28 U.S.C. § 1332(a).
9
  Id. § 1446(c)(2).
10
   Id; see also De Aguilar v. Boeing Co., 11 F.3d 55, 58 (5th Cir.1993).
11
   Manguno v. Prudential Prop. & Cas. Ins. Co., 276 F.3d 720, 723 (5th Cir. 2002) (internal quotation marks and
citations omitted).
12
   Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880, 883 (5th Cir. 2000).

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jurisdiction is ambiguous at the time of removal.”13 “Under those circumstances, the court is still

examining the jurisdictional facts as of the time the case is removed, but the court is considering

information submitted after removal.”14

III.    Cautionary Note

        The Court notes that Plaintiff has failed to comply with the Federal Rules of Civil

Procedure with regard to the instant filing. Rule 7(b)(2) of the Federal Rules of Civil Procedure

provides that “[t]he rules governing captions and other matters of form in pleadings apply to

motions and other papers.”15 Rule 10(b) in turn provides that “[a] party must state its claims or

defenses in numbered paragraphs, each limited as far as practicable to a single set of

circumstances.”16 Plaintiff’s motion lacks numbered paragraphs, hindering the Court’s reference

to her arguments. Plaintiff is cautioned that future submissions should consistently number each

paragraph to properly comply with the Rules.

IV.     Discussion

        Plaintiff claims that diversity jurisdiction is improper in this case because the amount in

controversy has not been satisfied. In her state court petition, Plaintiff states that her damages are

“less than $75,000.00.”17 Plaintiff contends that this language, in conjunction with a pre-suit

demand letter,18 and damage model,19 show that her damages are less than $75,000. More

specifically, Plaintiff contends that the pre-suit demand letter established the “top-end value for




13
   Id.
14
   Asociacion Nacional de Pescadores a Pequena Escala O Artesanales de Colombia (ANPAC) v. Dow Quimica de
Colombia S.A., 988 F.2d 559, 565 (5th Cir. 1993), cert. denied, 510 U.S. 1041 (1994), abrogated on other grounds
by Marathon Oil Co. v. Ruhrgas, 145 F.3d 211 (5th Cir. 1998) (emphasis in original).
15
   FED. R. CIV. P. 7(b)(2).
16
   FED. R. CIV. P. 10(b) (emphasis added).
17
   Petition at ¶ 4.
18
   Motion, Exh. B.
19
   Id., Exh. C.

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this case as $40,776.44.”20 Plaintiff further alleges that Defendant’s notice of removal offered

“only conclusory statements” and Defendant should instead “produce evidence establishing that

the amount in controversy exceeds $75,000.”21 Finally, Plaintiff argues that her demand for less

than $75,000 controls, even though, as she noted in her state court petition, Rule 47 of the Texas

Rules of Civil Procedure “require[d] Plaintiff to plead monetary relief of $100,000 or less,

including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney’s

fee.”22 Plaintiff claims that her choice to conduct discovery under Level 3 “is not dispositive of

damages” here and that this discovery level was sought only to establish clear deadlines for

discovery.23

         As previously noted, a plaintiff’s pleading for a specific sum made in good faith must be

deemed the amount in controversy; however, this request does not control when made in bad

faith or when state practice does not permit demand for a specific sum.24 In Texas, the law does

not permit a plaintiff to plead for a specific amount. Rather, Rule 47 requires a pleading to

contain a statement that the damages sought are within the jurisdictional limits of the court, and a

statement that the party seeks a pre-defined range of damages.25 Contrary to Plaintiff’s

protestations, while it is true that Texas Rule of Civil Procedure 47 was amended “to require a

more specific statement of the relief sought by a party,”26 Texas law simply does not permit a

plaintiff to plead that he or she seeks damages not to exceed $75,000. Thus, a specific demand

such as Plaintiff’s cannot be deemed the amount in controversy because “[s]uch manipulation is


20
   Motion at p. 2.
21
   Id. at p. 2.
22
   Petition at ¶ 4.
23
   Id. at p. 4.
24
   28 U.S.C. § 1446(c)(2); De Aguilar v. Boeing Co., 47 F.3d 1404, 1410 (5th Cir. 1995) (face of plaintiff's pleading
alleging damages below the federal jurisdictional amount will not control to prevent removal if pleading was made
in bad faith). See also Tex. R. Civ. P. 47(b)-(c).
25
   Tex. R. Civ. P. 47(b)-(c).
26
   Tex. R. Civ. P. 47 editor’s notes cmt. (2013).

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surely characterized as bad faith.”27 These considerations inform the Court that instead of

pleading a legitimate estimation of damages in this case, “[a]s a functional matter, [Plaintiff is]

attempting to avoid federal jurisdiction.”28 Thus, Plaintiff’s specific sum does not control the

Court’s analysis.

        In support of its position that the amount in controversy exceeds $75,000 in the instant

case, Defendant points out to the Court that Plaintiff’s original petition requests treble damages

under the Texas Insurance Code, exemplary damages in addition to her other requested

damages.29 Specifically, Defendant notes, in its response to the instant motion, that “when the

amount demanded [in Plaintiff’s] pre-suit ‘damage model’ is coupled with [Plaintiff’s] lawsuit

demanding future attorney’s fees and new claims for exemplary and additional other penalty

damages, it is clear that the amount in controversy exceeds $75,000.00”30 The Court agrees.

        Plaintiff’s pre-suit demand letter outlines some of the damages which Plaintiff claims to

have suffered.31 These damages include roof damage and the price of purchasing shingles for

Plaintiff’s roof.32 Plaintiff requested $40,776.74 to resolve her claims against Defendant.

Additionally, Plaintiff attached a damage model with the demand letter explaining how the

$40,776.74 figure was calculated.33 The itemized damage model includes various amounts for

different claims: an amount of $21,884.84 for Plaintiff’s total policy claims, $809.44 attributed

to an 18% penalty, $5000 for mental anguish, $11,537.71 for attorney’s fees, $1,150 for taxable



27
   Garcia v. Kellogg USA, Inc., No. 7:13-CV-00347, 2013 WL 4735169, at *1 (S.D. Tex. Sept. 3, 2013) (citing De
Aguilar, 47 F.3d at 1410); see also Ford v. United Parcel Serv., Inc. (Ohio), No. 3:14-CV-1872-D, 2014 WL
4105965, at *2 (N.D. Tex. Aug. 21, 2014) (holding that plaintiff who pleaded an award not to exceed $74,000
“purposefully contravened the Texas rules governing pleading requirements so as to avoid federal jurisdiction.”).
28
   De Aguilar, 47 F.3d at 1410.
29
   Dkt. No. 1 at ¶ 6.3.
30
   Response at ¶ 13.
31
   Motion, Exh. B.
32
   See id.
33
   Motion, Exh. C.

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court costs, and $394.75 for pre-judgment interest.34 These damage amounts add up to the sum of

$40,776.74, the amount Plaintiff demanded to resolve her claims.

        However, nowhere in the damage model is any reference made to exemplary damages.

Plaintiff’s petition specifically seeks punitive damages against Defendant for alleged actions that

were “intentional and made with knowing disregard for Plaintiff’s rights . . . .”35 If Plaintiff’s

claim for exemplary damages is successful, Plaintiff could receive “up to three (3) times the

amount of actual damages sought . . . .”36

        In Texas, punitive damages are included within the definition of exemplary damages.37

Under Texas law, “[e]xemplary damages awarded against a defendant may not exceed an amount

equal to the greater of . . . two times the amount of economic damages; plus . . . an amount equal

to any noneconomic damages . . . not to exceed $750,000; or . . . $200,000.”38 Additionally, the

Fifth Circuit has held that punitive damages are “to be considered in ascertaining the amount in

controversy when the insurer could be liable for those sums under state law . . . .”39 Given the

fact that Plaintiff’s damage model asserts an estimate of $21,884.84 for her damages under the

policy, as well as total damages sum of $40,776.74, the judicial threshold requirement of

$75,000 could easily be met if Plaintiff’s claim for punitive damages is successful.

        In her last effort to avoid the federal forum, Plaintiff offers the affidavit testimony of

Plaintiff’s counsel, Ms. Katherine Ray. In her affidavit, Ms. Ray states that “[t]he claimed

amount of damages . . . amounts to $40,776.44. This is below the $75,000 threshold necessary

for Federal Jurisdiction under 28 U.S.C. § 1332.”40 The Court finds this testimony unconvincing.


34
   See id.
35
   Petition at ¶ 18.
36
   Response at ¶ 8.
37
   Tex. Civ. Prac. & Rem.Code § 41.001(5).
38
   Tex. Civ. Prac. & Rem. Code § 41.008(b)(1)-(2).
39
   St. Paul Reinsurance Co. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998).
40
   Motion, Exh. D.

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As noted earlier, “post-removal affidavits may be considered in determining the amount in

controversy at the time of removal . . . only if the basis for jurisdiction is ambiguous at the time

of removal.” It is quite clear to the Court that Defendant’s basis for jurisdiction was

unambiguous at the time of removal. Therefore, the Court finds that Defendant has met its

burden by demonstrating by a preponderance of the evidence that the amount in controversy in

the instant case met the jurisdictional threshold at the time of removal. Accordingly, the Court

has jurisdiction to hear this lawsuit.

 V.        Attorney’s Fees

            Lastly, the Supreme Court has held that “[a]bsent unusual circumstances, courts may

award attorney's fees under § 1447(c) only where the removing party lacked an objectively

reasonable basis for seeking removal. Conversely, when an objectively reasonable basis exists,

fees should be denied.”41 Since Defendant has shown that removal in this case was proper,

Plaintiff’s claims for attorney’s fees must fail.

VI.        Holding

           For the foregoing reasons, the Court finds that it has jurisdiction to hear this case because

the amount in controversy exceeds $75,000. Therefore, Plaintiff’s motion to remand and request

for attorney’s fees is DENIED.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 18th day of February, 2016.



                                                               ___________________________________
                                                                          Micaela Alvarez
                                                                     United States District Judge


41
     Martin v. Franklin Capital Corp., 546 U.S. 132, 141, (2005).


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